12-02045-mg       Doc 13       Filed 03/06/13      Entered 03/06/13 17:59:17           Main Document
                                                  Pg 1 of 43

                                                   Hearing Date and Time: March 21, 2013 at 10:00 a.m. (ET)
                                                       Objection Deadline: March 14, 2013 at 4:00 p.m. (ET)
   MORRISON & FOERSTER LLP
   1290 Avenue of the Americas
   New York, New York 10104
   Telephone: (212) 468-8000
   Facsimile: (212) 468-7900
   Norman S. Rosenbaum
   Stefan W. Engelhardt
   Paul Galante
   Erica J. Richards

   Counsel for the Debtors and
   Debtors in Possession

                         UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

   ---------------------------------------------------------x
   Brian Finell Kimber and Malinda Kimber,                 :
                                                           :    Adv. Proc. 12-02045 (MG)
                              Plaintiffs,                  :
                                                           :
                                   v.                      :
                                                           :
   GMAC Mortgage LLC; Amerigroup                           :
   Mortgage Corporation; Transcontinental                  :
   Title Co.; Mortgage Electronic Registration :
   Systems, Inc.; Susan Turner; Ahn P. Nguyen; :
   Executive Trustee Service LLC; Pite Duncan, :
   LLP; Gabrial Ozel; Raye Mayhorn; Realty                 :
   Executives of Killen, Inc.; Sol Jessy Lockhart; :
   and Alarcon Law Group P.C.                              :
                                                           :
                              Defendants.                  :
   ---------------------------------------------------------x
   In re                                                   :
                                                           :    Case No. 12-12020 (MG)
   RESIDENTIAL CAPITAL, LLC, et al.,                       :
                                                           :    Chapter 11
                                                           :
                              Debtors                      :    Jointly Administered
   ---------------------------------------------------------x

         NOTICE OF DEBTORS’ MOTION FOR DISMISSAL OF ADVERSARY
          PROCEEDING PURSUANT TO BANKRUPTCY RULE 7012(b) AND
          FRCP 12(b)(5), AND (6) OR, IN THE ALTERNATIVE, PERMISSIVE
                ABSTENTION PURSUANT TO 28 U.S.C. § 1334(c)(1)


   ny-1080946
12-02045-mg     Doc 13    Filed 03/06/13    Entered 03/06/13 17:59:17         Main Document
                                           Pg 2 of 43


          PLEASE TAKE NOTICE that the undersigned have filed the attached Motion

   for Dismissal of Adversary Proceeding Pursuant to Bankruptcy Rule 7012(b) and FRCP

   12(b)(5) and (6) or, in the Alternative, Permissive Abstention Pursuant to 28 U.S.C.

   § 1334(c)(1) (the “Motion”).

          PLEASE TAKE FURTHER NOTICE that a hearing on the Motion will take

   place on March 21, 2013 at 10:00 a.m. (prevailing Eastern Time) before the

   Honorable Martin Glenn, at the United States Bankruptcy Court for the Southern District

   of New York, Alexander Hamilton Custom House, One Bowling Green, New York, New

   York 10004-1408, Room 501.

          PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion

   must be made in writing, conform to the Federal Rules of Bankruptcy Procedure, the

   Local Bankruptcy Rules for the Southern District of New York, and the Notice, Case

   Management, and Administrative Procedures approved by the Bankruptcy Court [Docket

   No. 141], be filed electronically by registered users of the Bankruptcy Court’s electronic

   case filing system, and be served, so as to be received no later than March 14, 2013 at

   4:00 p.m. (Prevailing Eastern Time), upon (a) counsel to the Debtors, Morrison &

   Foerster LLP, 1290 Avenue of the Americas, New York, NY 10104 (Attention: Norman

   S. Rosenbaum, Stefan W. Engelhardt, Paul Galante and Erica Richards); (b) the Office of

   the United States Trustee for the Southern District of New York, 33 Whitehall Street,

   21st Floor, New York, NY 10004 (Attention: Tracy Hope Davis, Linda A. Riffkin, and

   Brian S. Masumoto); (c) the Office of the United States Attorney General, U.S.

   Department of Justice, 950 Pennsylvania Avenue NW, Washington, DC 20530-0001

   (Attention: U.S. Attorney General, Eric H. Holder, Jr.); (d) Office of the New York State




   ny-1080946
12-02045-mg     Doc 13     Filed 03/06/13    Entered 03/06/13 17:59:17         Main Document
                                            Pg 3 of 43


   Attorney General, The Capitol, Albany, NY 12224-0341 (Attention: Nancy Lord, Esq.

   and Enid N. Stuart, Esq.); (e) Office of the U.S. Attorney for the Southern District of

   New York, One St. Andrews Plaza, New York, NY 10007 (Attention: Joseph N. Cordaro,

   Esq.); (f) counsel for Ally Financial Inc., Kirkland & Ellis LLP, 153 East 53rd Street,

   New York, NY 10022 (Attention: Richard M. Cieri); (g) counsel to Barclays Bank PLC,

   as administrative agent for the DIP lenders, Skadden, Arps, Slate, Meagher & Flom LLP,

   Four Times Square, New York, NY 10036 (Attention: Ken Ziman & Jonathan H. Hofer);

   (h) counsel for the committee of unsecured creditors, Kramer Levin Naftalis & Frankel

   LLP, 1177 Avenue of the Americas, New York, NY 10036 (Attention: Kenneth Eckstein

   & Greg Horowitz); (i) counsel for Ocwen Loan Servicing, LLC, Clifford Chance US LLP,

   31 West 52nd Street, New York, NY 10019 (Attention: Jennifer C. DeMarco and Adam

   Lesman); (j) counsel for Berkshire Hathaway Inc., Munger, Tolles & Olson LLP, 355

   South Grand Avenue, Los Angeles, CA 90071 (Attention: Thomas Walper and Seth

   Goldman); (k) Internal Revenue Service, P.O. Box 7346, Philadelphia, PA 19101-7346

   (if by overnight mail, to 2970 Market Street, Mail Stop 5-Q30.133, Philadelphia, PA

   19104-5016); and (l) Securities and Exchange Commission, New York Regional Office,

   3 World Financial Center, Suite 400, New York, NY 10281-1022 (Attention: George S.

   Canellos, Regional Director).

          PLEASE TAKE FURTHER NOTICE that if you do not timely file and serve a

   written objection to the relief requested in the Motion, the Bankruptcy Court may deem

   any opposition waived, treat the Motion as conceded, and enter an order granting the

   relief requested in the Motion without further notice or hearing.




   ny-1080946
12-02045-mg     Doc 13   Filed 03/06/13    Entered 03/06/13 17:59:17      Main Document
                                          Pg 4 of 43


   Dated: March 6, 2013                         Respectfully submitted,
          New York, New York

                                                /s/ Norman S. Rosenbaum
                                                Norman S. Rosenbaum
                                                Stefan W. Engelhardt
                                                Paul Galante
                                                Erica J. Richards
                                                MORRISON & FOERSTER LLP
                                                1290 Avenue of the Americas
                                                New York, New York 10104
                                                Telephone: (212) 468-8000
                                                Facsimile: (212) 468-7900

                                                Counsel to the Debtors and
                                                Debtors in Possession




   ny-1080946
12-02045-mg        Doc 13       Filed 03/06/13       Entered 03/06/13 17:59:17        Main Document
                                                    Pg 5 of 43
                              Hearing Date and Time: March 21, 2013 at 10:00 a.m. (Prevailing Eastern Time)
                                  Objection Deadline: March 14, 2013 at 4:00 p.m. (Prevailing Eastern Time)

MORRISON & FOERSTER LLP
1290 Avenue of the Americas
New York, New York 10104
Telephone: (212) 468-8000
Facsimile: (212) 468-7900
Norman S. Rosenbaum
Stefan W. Engelhardt
Paul Galante
Erica J. Richards

Counsel for the Debtors and
Debtors in Possession

                          UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

---------------------------------------------------------x
                                                        :
Brian Finell Kimber and Malinda Kimber,                 :
                                                        :    Adv. Proc. 12-02045 (MG)
                           Plaintiffs,                  :
                                                        :
                                v.                      :
                                                        :
GMAC Mortgage LLC; Amerigroup                           :
Mortgage Corporation; Transcontinental                  :
Title Co.; Mortgage Electronic Registration :
Systems, Inc.; Susan Turner; Ahn P. Nguyen; :
Executive Trustee Service LLC; Pite Duncan, :
LLP; Gabrial Ozel; Raye Mayhorn; Realty                 :
Executives of Killen, Inc.; Sol Jessy Lockhart; :
and Alarcon Law Group P.C.                              :
                                                        :
                           Defendants.                  :
---------------------------------------------------------x
In re                                                   :
                                                        :    Case No. 12-12020 (MG)
RESIDENTIAL CAPITAL, LLC, et al.,                       :
                                                        :    Chapter 11
                                                        :
                           Debtors                      :    Jointly Administered
---------------------------------------------------------x

 DEBTORS’ MOTION FOR DISMISSAL OF ADVERSARY PROCEEDING PURSUANT
     TO BANKRUPTCY RULE 7012(b) AND FRCP 12(b)(5), AND (6) OR, IN THE
  ALTERNATIVE, PERMISSIVE ABSTENTION PURSUANT TO 28 U.S.C. §1334(c)(1)



ny-1079262
12-02045-mg        Doc 13          Filed 03/06/13           Entered 03/06/13 17:59:17                          Main Document
                                                           Pg 6 of 43

                                              TABLE OF CONTENTS

                                                                                                                                  Page


I.     PRELIMINARY STATEMENT ........................................................................................1
II.    JURISDICTION AND VENUE.........................................................................................2
III.   BACKGROUND ................................................................................................................2
       A.        General Bankruptcy Case Background...................................................................2
       B.        Events Giving Rise to the Adversary Proceeding ..................................................3
                 (i)        Origination and Foreclosure of Plaintiffs’ Loan.........................................3
                 (ii)       Plaintiffs’ Bankruptcy Cases ......................................................................4
                 (iii)      The Adversary Proceeding .........................................................................6
IV.    ARGUMENT .....................................................................................................................6
       A.        The Adversary Proceeding Should Be Dismissed Pursuant to Bankruptcy
                 Rule 7012(b) and FRCP 12(b)(5) and (6)...............................................................6
                 (i)        Failure to State a Claim ..............................................................................7
                            (a)        Legal Standard................................................................................7
                            (b)        Plaintiff’s Claims are Barred by Res Judicata and Judicial
                                       Estoppel ..........................................................................................8
                 (ii)       Insufficient Service of Process .................................................................11
       B.        The Court Should Abstain from Exercising Jurisdiction Over the
                 Adversary Proceeding...........................................................................................12
V.     CONCLUSION ................................................................................................................14

EXHIBITS:

       Exhibit 1: Richards Decl.
              Exhibit A: Texas Complaint
              Exhibit B: Texas Order




                                                                 -i-
ny-1079262
12-02045-mg            Doc 13         Filed 03/06/13          Entered 03/06/13 17:59:17                      Main Document
                                                             Pg 7 of 43



                                              TABLE OF AUTHORITIES

                                                                                                                              Page(s)
CASES

Aegis Realty Corp. v. Langer (In re Aegis Realty Corp.),
   301 B.R. 116 (Bankr. S.D.N.Y. 2003) ......................................................................................8

Banco Santander de Puerto Rico v. Lopez-Stubbe (In re Colonial Mortg. Bankers Corp.),
   324 F.3d 12 (1st Cir. 2003)........................................................................................................8

Bernheim v. Litt,
   79 F.3d 318 (2d Cir. 1996) ........................................................................................................7

Brass v. Am. Film Techs., Inc.,
   987 F.2d 142 (2d Cir. 1993) ......................................................................................................7

Chase v. Chase (In re Chase),
   392 B.R. 72 (Bankr. S.D.N.Y. 2008) ......................................................................................10

Corbett v. MacDonald Moving Servs., Inc.,
   124 F.3d 82 (2d Cir. 1997) ..................................................................................................9, 10

Cortez Byrd Chips, Inc. v. Bill Harbert Constr. Co.,
   529 U.S. 193 (2000) ..........................................................................................................12, 13

Dennis v. Rhode Island Hosp. Trust,
   744 F.2d 893 (1st Cir. 1984)....................................................................................................10

Exchange Nat’l Bank of Chic. v. Touche Ross & Co.,
   544 F.2d 1126 (2d Cir. 1976) ..................................................................................................11

Federated Dep’t Stores, Inc. v. Moitie,
   452 U.S. 394 (1981) ................................................................................................................11

Gazes v. Delprete (In re Clinton St. Food Corp.),
   254 B.R. 523 (Bankr. S.D.N.Y. 2000) ......................................................................................9

Hall v. Hodgkins,
   305 Fed. Appx. 224 (5th Cir. 2008) ..........................................................................................8

Hirsch v. Arthur Andersen & Co.,
   72 F.3d 1085 (2d Cir. 1995) ......................................................................................................8

HSBC Bank USA, Nat’l Ass’n v. Adelphia Commc’ns Corp.,
  Nos. 07-CV-553A(RJA), 07-CV-555A(RJA) .........................................................................10




ny-1079262                                                        -ii-
12-02045-mg              Doc 13          Filed 03/06/13           Entered 03/06/13 17:59:17                          Main Document
                                                                 Pg 8 of 43


Kaspar Wire Works, Inc. v. Leco Eng’g & Mach., Inc.,
   575 F.2d 530 (5th Cir. 1987) .....................................................................................................9

Kelley v. S. Bay Bank (In re Kelley),
   199 B.R. 698 (B.A.P. 9th Cir. 1996) .........................................................................................9

McCarthy v. Dun & Bradstreet Corp.,
  482 F.3d 184 (2d Cir. 2007) ......................................................................................................7

Norris v. Hearst Trust,
   500 F.3d 454 (5th Cir. 2007) .....................................................................................................8

Parklane Hosiery Co. v. Shore,
   439 U.S. 322 (1978) ..................................................................................................................9

Rodi v. S. New England Sch. of Law,
   389 F.3d 5 (1st Cir. 2004)..........................................................................................................8

Smith v. Bayer Corp.,
   131 S. Ct. 2368 (2011) ............................................................................................................12

Sure-Snap Corp. v. State St. Bank & Trust Co.,
   948 F.2d 869 (2d Cir. 1991) ..................................................................................................8, 9

Teltronics Servs., Inc. v. L M Ericsson Telecommc’ns, Inc.,
    642 F.2d 31 (2d Cir. 1981) ......................................................................................................11

STATUTES

28 U.S.C. § 1334(c)(1) ..................................................................................................................12

OTHER AUTHORITIES

18 Charles Alan Wright and Arthur R. Miller, Federal Practice and Procedure § 4402
   (1981) ........................................................................................................................................9

RESTATEMENT (SECOND) OF JUDGMENTS, § 27 (1982)..................................................................10

Bankruptcy Rule 7004(b)(3)..........................................................................................................11

Bankruptcy Rule 7004(b)(9)....................................................................................................11, 12

Fed. R. Evid. 201(b), (d)..................................................................................................................7

Local Bankr. R. 9078-1 .................................................................................................................12




                                                                      -iii-
ny-1079262
12-02045-mg      Doc 13       Filed 03/06/13    Entered 03/06/13 17:59:17         Main Document
                                               Pg 9 of 43



               Defendants GMAC Mortgage, LLC (“GMACM”) and Executive Trustee Services,

LLC (“ETS” and, together with GMACM, the “Debtor Defendants”), each a debtor and debtor in

possession in the above-captioned chapter 11 cases (collectively with all affiliated debtors and

debtors in possession, the “Debtors”), submit this motion (the “Motion”) to dismiss the above-

referenced adversary proceeding (the “Adversary Proceeding”) commenced by pro se plaintiffs

Brian Finell Kimber and Malinda Kimber (“Plaintiffs”) for failure to state a claim upon which

relief can be granted and insufficient service of process or, in the alternative, requesting that the

Court exercise its discretion to abstain from exercising jurisdiction over the Adversary

Proceeding. In support hereof, the Debtor Defendants submit the Declaration of Erica J.

Richards, dated March 6, 2013 (the “Richards Decl.”), attached hereto as Exhibit 1, and

respectfully represent:


                               I.     PRELIMINARY STATEMENT

               1.         The Plaintiffs’ claims should be dismissed under principles of res judicata

and collateral estoppel. Indeed, the vast majority of the claims asserted in this action have

already been litigated and dismissed by the Bankruptcy Court for the Western District of Texas.

               2.         The Plaintiffs are joint debtors in a chapter 13 bankruptcy case currently

pending before the United States Bankruptcy Court for the Western District of Texas (the “Texas

Bankruptcy Court”). On November 20, 2012, the Plaintiffs filed an adversary complaint in their

chapter 13 case (the “Texas Complaint”), against the same defendants named in the instant

Complaint, and asserting identical claims and requests for relief. Pursuant to an order entered on

February 21, 2013, the Texas Bankruptcy Court dismissed the majority of the claims asserted in

the Texas Complaint on the merits, and ordered the Plaintiffs to file an amended Texas

Complaint as to the remaining counts on or before March 6, 2013, or such counts will also be


ny-1079262
12-02045-mg      Doc 13     Filed 03/06/13 Entered 03/06/13 17:59:17              Main Document
                                          Pg 10 of 43


dismissed. Thus, Plaintiffs are barred from asserting the same claims against the same

defendants before this Court under principles of res judicata and collateral estoppel. Accordingly,

the Complaint should be dismissed pursuant to FRCP 12(b)(6) for failure to state a claim upon

which relief can be granted. To the extent the Texas Bankruptcy Court’s ruling with respect to

the remaining counts of the Texas Complaint are not yet final, the Debtors respectfully submit

that this Court nonetheless should abstain from exercising jurisdiction pursuant to 28 U.S.C.

§ 1334(c)(1) in the interest of comity and judicial efficiency.


                             II.     JURISDICTION AND VENUE

               3.      The Court has jurisdiction over this adversary proceeding pursuant to 28

U.S.C. §§ 157 (a) and 1334(b). Venue is proper under 28 U.S.C. § 1409. This is a non-core

proceeding pursuant to 28 U.S.C. §§ 157(b)(1) and (b)(2). Nonetheless, pursuant to Local

Bankruptcy Rule 7012-1, the Debtor Defendants consent to entry of a final order or judgment by

this Court if it is determined that the Court, absent consent of the parties, cannot enter final

orders or judgment consistent with Article III of the United States Constitution.


                                     III.    BACKGROUND

A.     General Bankruptcy Case Background

               4.      On May 14, 2012 (the “Petition Date”), each of the Debtors filed a

voluntary petition for relief under Chapter 11 of the Bankruptcy Code in this Court. As of the

Petition Date, the Debtors and their non-debtor affiliates operated the fifth largest mortgage

servicing business in the United States.

               5.      The Debtors are managing and operating their businesses as debtors in

possession pursuant to Bankruptcy Code sections 1107(a) and 1108. Their chapter 11 cases

(collectively, the “Bankruptcy Case”) are being jointly administered pursuant to Rule 1015(b) of

                                                  2
ny-1079262
12-02045-mg         Doc 13      Filed 03/06/13 Entered 03/06/13 17:59:17                     Main Document
                                              Pg 11 of 43


the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). No trustee has been

appointed in the Bankruptcy Case.

                  6.       On May 16, 2012, the United States Trustee for the Southern District of

New York appointed a nine member official committee of unsecured creditors (the “Creditors’

Committee”).

                  7.       On November 30, 2012, the Court entered an order approving the retention

of SilvermanAcampora LLP (“SilvermanAcampora”) as special counsel to the Creditors’

Committee [Dkt. No. 2315].


B.       Events Giving Rise to the Adversary Proceeding1
         (i)      Origination and Foreclosure of Plaintiffs’ Loan

                  8.       Plaintiffs are borrowers under a mortgage loan (the “Loan”) that was

originated by Amerigroup Mortgage Corporation (“Amerigroup”) on May 2, 2009. The Loan is

evidenced by a note in the amount of $175,950.00 (the “Note”), which is secured by real

property located at 6109 Bridgewood Drive, Kileen, Texas 76549 (the “Property”) pursuant to a

deed of Trust (the “Deed of Trust”) executed contemporaneously with the Note. On or about

June 6, 2012, Amerigroup assigned the Deed of Trust to GMACM.

                  9.       As a result of Plaintiffs’ continuing default under the Loan, GMACM

initiated a non-judicial foreclosure with respect to the Property. On August 7, 2012, the Property

was sold at a foreclosure sale.




1
     The facts described below are based upon counsel’s investigation of the Plaintiffs’ personal bankruptcy
     proceedings. If the Court desires, the Debtors will provide the Court with the loan documents and pleadings
     filed in the Plaintiffs’ personal bankruptcy cases.




                                                         3
ny-1079262
12-02045-mg      Doc 13      Filed 03/06/13 Entered 03/06/13 17:59:17               Main Document
                                           Pg 12 of 43


        (ii)    Plaintiffs’ Bankruptcy Cases

                10.     On August 7, 2012, the same day as the foreclosure sale of the Property,

Mr. Kimber filed a petition for chapter 13 protection in the Texas Bankruptcy Court, Case No.

12-11803 (HCM) (the “Plaintiff’s First Bankruptcy Case”).

                11.     On September 10, 2012, the Texas Bankruptcy Court entered an order for

summary dismissal of Plaintiff’s First Bankruptcy Case for failure to timely file a plan and/or

schedules. Plaintiff’s First Bankruptcy Case was closed on November 29, 2012.

                12.     On October 8, 2012, Plaintiffs filed a joint petition for chapter 13

protection in the Texas Bankruptcy Court, Case No. 12-61074 (CAG) (the “Plaintiffs’

Bankruptcy Case”).

                13.     On November 20, 2012, Plaintiffs filed the Texas Complaint in the

Plaintiffs’ Bankruptcy Case, thereby initiating an adversary proceeding, Case No. 12-ap-6040

(CAG) (the “Texas AP”), against: GMACM; Amerigroup; Transcontinental Title Co.; Mortgage

Electronic Registration Systems, Inc. (“MERS”); Susan Turner (“Turner”), ETS; Pite Duncan,

LLP; Gabrial Ozel; Raye Mayhorn; Realty Executives of Killeen, Inc.; Sol Jessy Lockhart; and

Alarcon Law Group P.C. (collectively, the “Defendants”). The Texas Complaint, which is

identical to the instant action, asserts claims for: (a) violation of the automatic stay in Plaintiff’s

First Bankruptcy Case (Count I); (b) avoidance of defective deed of trust (Count II);

(c) declaratory relief (Count III); and (d) turnover (Count IV). See Texas Complaint, attached as

Exhibit A to the Richards Decl.

                14.     On December 17, 2012, Plaintiffs filed a Motion For Rule to Show Cause

Against Defendants GMAC Mortgage, Sol Jessy Lockhart and Realty Executives of Killeen, Inc.

dba Realty Executives International and Pite Duncan, LLP For Violation of Automatic Stay



                                                   4
ny-1079262
12-02045-mg     Doc 13     Filed 03/06/13 Entered 03/06/13 17:59:17            Main Document
                                         Pg 13 of 43


Provisions of Section 361 of Bankruptcy Code (ECF # 14) (the “Show Cause Motion”) in the

Texas AP.

               15.    On December 20, 2012, the Debtor Defendants filed a motion to dismiss

the Texas AP (ECF # 16) (the “Texas MTD”).

               16.    On January 7, 2013, the Debtor Defendants filed a response to the Show

Cause Motion (ECF # 24).

               17.    At a hearing held on February 19, 2013, the Texas Bankruptcy Court

denied Plaintiffs’ Show Cause Motion and granted in part the Texas MTD.

               18.    On February 21, 2013, the Texas Bankruptcy Court entered an Order

Granting in Part and Denying in Part Motion to Dismiss (ECF # 41) (the “Texas Order”),

pursuant to which the Texas Motion to Dismiss was granted with prejudice as to Counts II, III,

and IV against GMACM, ETS, MERS, and Turner (collectively, the “GMACM Defendants”).

Also pursuant to the Texas Order, the Texas Motion to Dismiss was granted with prejudice as to

Count I against Defendants Turner and MERS, and denied without prejudice as to Count I

against the Debtor Defendants. See Texas Order, attached as Exhibit B to the Richards Decl.

               19.    The Texas Bankruptcy Court has ordered Plaintiffs to file an amended

Texas Complaint as to Count I against the Debtor Defendants on or before March 6, 2013. The

amended Texas Complaint must make specific factual allegations about the notice Plaintiffs gave

the Debtor Defendants of Plaintiff’s First Bankruptcy Case. If Plaintiffs fail to comply with the

Texas Bankruptcy Court’s directions, the Texas Order provides that the Texas Bankruptcy Court

may also dismiss Count I against the Debtor Defendants.




                                                5
ny-1079262
12-02045-mg        Doc 13     Filed 03/06/13 Entered 03/06/13 17:59:17            Main Document
                                            Pg 14 of 43


          (iii)   The Adversary Proceeding

                  20.     On November 26, 2012, Plaintiffs filed the instant Complaint initiating the

Adversary Proceeding. A summons and notice of pretrial conference (the “Summons”) was

issued with respect to the Adversary Proceeding on November 29, 2012.

                  21.     As of the date hereof, no affidavit of service of the Complaint and

Summons had been filed. Also as of the date hereof, the Debtor Defendants have no record of

being served by any other legally sufficient means, either directly upon an officer or through

their registered agent.

                  22.     The Debtor Defendants learned of this Adversary Proceeding through

MERS, which notified the Debtor Defendants of the Complaint on November 27, 2012. The

Debtor Defendants also learned of this case through its monitoring of the Bankruptcy Case

docket.

                  23.     The Complaint is brought against the same defendants named in the Texas

AP, and asserts identical claims and requests for relief as those made in the Texas Complaint.

                  24.     At the request of the Debtors, SilvermanAcampora contacted Plaintiffs to

discuss the basis for the Adversary Proceeding, and whether Plaintiffs would consent to

withdraw the Complaint in light of the apparent duplication of the causes of action already being

asserted in the Texas AP. Plaintiffs refused to withdraw the Complaint.


                                         IV.    ARGUMENT

A.        The Adversary Proceeding Should Be Dismissed Pursuant to
          Bankruptcy Rule 7012(b) and FRCP 12(b)(5) and (6)

                  25.     Bankruptcy Rule 7012 incorporates by reference Rule 12(b)-12(i) of the

Federal Rules of Civil Procedure (“FRCP”). FRCP 12(b) provides that a party may assert

specified defenses by motion, including lack of subject matter jurisdiction, insufficient service of

                                                    6
ny-1079262
12-02045-mg      Doc 13      Filed 03/06/13 Entered 03/06/13 17:59:17              Main Document
                                           Pg 15 of 43


process, and failure to state a claim upon which relief can be granted, and that a motion asserting

any of these defenses may be made before pleading. The Adversary Proceeding should also be

dismissed pursuant to Bankruptcy Rule 7012(b)(6) because Plaintiffs have failed to state a claim

upon which relief can be granted. The Adversary Proceeding should be dismissed pursuant to

Bankruptcy Rule 7012(b) and FRCP 12(b)(5) because Plaintiffs failed to provide sufficient

service of process.


       (i)     Failure to State a Claim
               (a)     Legal Standard

               26.     Plaintiff’s Complaint should also be dismissed on the ground that Plaintiff

has failed to plead sufficient facts to establish his claims against the Debtor Defendants.

               27.     FRCP 12(b)(6) permits dismissal of an action for failure to state a claim

upon which relief can be granted. For FRCP 12(b)(6) purposes, a court must accept the

plaintiff’s factual allegations as true, drawing all reasonable inferences in the plaintiff’s favor.

Bernheim v. Litt, 79 F.3d 318, 321 (2d Cir. 1996).

               28.     The Court’s review on a motion to dismiss pursuant to FRCP 12(b)(6) is

generally limited to “the facts as asserted within the four corners of the complaint, the documents

attached to the complaint as exhibits, and any documents incorporated in the complaint by

reference.” McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 191 (2d Cir. 2007). In addition,

the Court may also consider “matters of which judicial notice may be taken” and “documents

either in plaintiffs’ possession or of which plaintiffs had knowledge and relied on in bringing

suit.” Brass v. Am. Film Techs., Inc., 987 F.2d 142, 150 (2d Cir. 1993). See also, Fed. R. Evid.

201(b), (d) (“A judicially noticed fact must be one not subject to reasonable dispute in that it is

either (1) generally known within the territorial jurisdiction of the trial court or (2) capable of



                                                   7
ny-1079262
12-02045-mg       Doc 13    Filed 03/06/13 Entered 03/06/13 17:59:17              Main Document
                                          Pg 16 of 43


accurate and ready determination by resort to sources whose accuracy cannot reasonably be

questioned . . . [A] court shall take judicial notice if requested by a party and supplied with the

necessary information.”); Norris v. Hearst Trust, 500 F.3d 454, 461 n.9 (5th Cir. 2007), (“[I]t is

clearly proper in deciding a 12(b)(6) motion to take judicial notice of matters of public record.”);

Hirsch v. Arthur Andersen & Co., 72 F.3d 1085, 1088, 1092 (2d Cir. 1995) (noting that, in

connection with a motion to dismiss, a court may consider all papers appended as well as matters

of judicial notice).


                (b)    Plaintiff’s Claims are Barred by Res Judicata and Judicial Estoppel
                29.    Plaintiffs’ claims have already been litigated and dismissed on the merits

by the Bankruptcy Court for the Western District of Texas. Thus, Plaintiffs’ claims are barred by

the doctrines of res judicata and collateral estoppel. Sure-Snap Corp. v. State St. Bank & Trust

Co., 948 F.2d 869, 870 (2d Cir. 1991).

                30.    If, based on the face of the complaint, incorporated documents, matters of

public record, and matters of which a court could take judicial notice, a successful affirmative

defense appears, then dismissal under FRCP 12(b)(6) is proper. See, e.g., Hall v. Hodgkins, 305

Fed. Appx. 224, 228 (5th Cir. 2008), Banco Santander de Puerto Rico v. Lopez-Stubbe (In re

Colonial Mortg. Bankers Corp.), 324 F.3d 12, 16 (1st Cir. 2003). See also Rodi v. S. New

England Sch. of Law, 389 F.3d 5, 12, 17-19 (1st Cir. 2004) (“[A] properly raised affirmative

defense can be adjudicated on a motion to dismiss so long as (i) the facts establishing the defense

are definitively ascertainable from the complaint and the other allowable sources of information,

and (ii) those facts suffice to establish the affirmative defense with certitude.” (citation omitted)).

Thus, where claims and issues are precluded based on res judicata or judicial estoppel, they are

subject to dismissal under FRCP 12(b)(6). See, e.g., Aegis Realty Corp. v. Langer (In re Aegis



                                                  8
ny-1079262
12-02045-mg      Doc 13      Filed 03/06/13 Entered 03/06/13 17:59:17              Main Document
                                           Pg 17 of 43


Realty Corp.), 301 B.R. 116 (Bankr. S.D.N.Y. 2003) (dismissing claim on res judicata grounds

on a motion to dismiss by defendant); Gazes v. Delprete (In re Clinton St. Food Corp.), 254 B.R.

523 (Bankr. S.D.N.Y. 2000) (dismissing claim on res judicata and collateral estoppel grounds on

a motion to dismiss by defendants).

               31.     Under the doctrine of res judicata, litigants, such as Plaintiffs, are not

permitted more than “one bite of the apple.” Sure-Snap Corp. v. State St. Bank & Trust Co., 948

F.2d at 870. Res judicata pertains to the preclusive effect of a prior adjudication, and is actually

composed of two doctrines. The first is “claim preclusion,” under which the effect of a judgment

extends to the litigation of all issues relevant to the same claim between the same parties,

whether or not raised at trial; the second is collateral estoppel or “issue preclusion,” which bars

the re-litigation of issues actually adjudicated, and essential to the judgment, in a prior litigation

between the same parties. 18 Charles Alan Wright and Arthur R. Miller, Federal Practice and

Procedure § 4402 (1981) (citing Kaspar Wire Works, Inc. v. Leco Eng’g & Mach., Inc., 575 F.2d

530, 535- 36 (5th Cir. 1987)); see also Parklane Hosiery Co. v. Shore, 439 U.S. 322, 327 n.5

(1978). Res judicata prevents a party from re-litigating a cause of action, thereby giving finality

to legal proceedings. Kelley v. S. Bay Bank (In re Kelley), 199 B.R. 698, 702 (B.A.P. 9th Cir.

1996).

               32.     To determine whether the doctrine of claim preclusion bars plaintiffs’ re-

litigation of their claims, bankruptcy courts in the Second Circuit “consider whether (1) the prior

decision was a final judgment on the merits, (2) the litigants were the same parties, (3) the prior

court was of competent jurisdiction, and (4) the causes of action were the same.” Corbett v.

MacDonald Moving Servs., Inc., 124 F.3d 82, 87–88 (2d Cir. 1997). In addition, “[i]n the

bankruptcy context, the Court must also determine ‘whether an independent judgment in a



                                                   9
ny-1079262
12-02045-mg      Doc 13     Filed 03/06/13 Entered 03/06/13 17:59:17              Main Document
                                          Pg 18 of 43


separate proceeding would impair or destroy rights or interests established by the judgment

entered in the first action.’” HSBC Bank USA, Nat’l Ass’n v. Adelphia Commc’ns Corp., Nos.

07-CV-553A(RJA), 07-CV-555A(RJA), 07-CV-554A(RJA), 2009 WL 385474, at *11

(W.D.N.Y. Feb. 12, 2009) (citing Corbett, 124 F.3d at 89).

               33.     On the other hand, “the principle of collateral estoppel, or issue preclusion,

bars re-litigation of any factual or legal issue that was actually decided in previous litigation

between the parties, whether on the same or a different claim.” Dennis v. Rhode Island Hosp.

Trust, 744 F.2d 893, 898 (1st Cir. 1984) (quoting RESTATEMENT (SECOND) OF JUDGMENTS, § 27

(1982)). As with claim preclusion, “[t]he underlying principle of issue preclusion is that one

who has actually litigated an issue should not be allowed to relitigate it.” Chase v. Chase (In re

Chase), 392 B.R. 72, 81 (Bankr. S.D.N.Y. 2008). (citation and internal quotation marks omitted).

The essential elements of issue preclusion are: (1) the issue sought to be precluded must be the

same as that involved in the prior action; (2) the issue must have been actually litigated; (3) the

issue must have been determined by a valid and binding final judgment; and (4) the

determination of the issue must have been essential to the judgment. Id.

               34.     Here, all the elements of claim preclusion and issue preclusion are

satisfied with respect to the Debtor Defendants, thus barring Plaintiffs’ prosecution of the

Adversary Proceeding against the Debtor Defendants. Plaintiffs and the Debtor Defendants were

all parties to the Texas AP, over which the Texas Bankruptcy Court had proper jurisdiction.

Plaintiffs asserted identical claims against the same parties in the Texas AP and, pursuant to

FRCP 12(b)(6), the Texas Bankruptcy Court dismissed all but one of those claims against

GMAC and ETS for failure to state a claim, and directed that Plaintiffs amend the Texas

Complaint or risk dismissal of that count as well. That dismissal became final upon expiration of



                                                  10
ny-1079262
12-02045-mg      Doc 13     Filed 03/06/13 Entered 03/06/13 17:59:17             Main Document
                                          Pg 19 of 43


the 14-day time to file a notice of appeal of the Texas Bankruptcy Court’s final order entered on

February 21, 2013. Thus, the Texas Bankruptcy Court’s ruling is a final decision on the merits.

See, e.g., Federated Dep’t Stores, Inc. v. Moitie, 452 U.S. 394, 399 n.3 (1981) (stating that

dismissal under FRCP 12(b)(6) is a “judgment on merits”); Teltronics Servs., Inc. v. L M

Ericsson Telecommc’ns, Inc., 642 F.2d 31, 34 (2d Cir. 1981), (“Judgments under Rule 12(b)(6)

are on the merits, with res judicata effects . . . .” (quoting Exchange Nat’l Bank of Chic. v.

Touche Ross & Co., 544 F.2d 1126, 1130-31 (2d Cir. 1976))). Additionally, the determination

of whether Plaintiffs stated a claim for relief was essential to the judgment on the Texas MTD.

Accordingly, each of the claims sought to be pursued by Plaintiff in the Adversary Proceeding is

barred under principles of res judicata and/or judicial estoppel, thus warranting dismissal.

               35.     For the reasons set forth above, the Adversary Proceeding should be

dismissed in its entirety for failure to state a claim upon which relief can be granted pursuant to

Bankruptcy Rule 7012(b) and FRCP 12(b)(6).

       (ii)    Insufficient Service of Process

               36.     Bankruptcy Rule 7004 incorporates by reference FRCP 4(c)(1), 4(h) and

4(l). FRCP 4(c)(1) in turn provides that the plaintiff is responsible for having the summons and

complaint served within the time allowed, and FRCP 4(h) requires that a corporation must be

served in the manner prescribed by FRCP 4(e)(1) for serving an individual, or by delivering a

copy of the summons and complaint to an authorized agent and by mailing a copy of each to the

defendant. In addition, under Bankruptcy Rule 7004(b)(3), service may also be effectuated by

mailing a copy of the summons and complaint to “an officer, a managing or general agent, or to

any other agent authorized by appointment or by law to receive service of process . . . .” Fed. R.

Bankr. P. 7004(b)(3). Bankruptcy Rule 7004(b)(9) also authorizes service upon a debtor by

mailing a copy of the summons and complaint to the address shown in the bankruptcy petition.

                                                 11
ny-1079262
12-02045-mg      Doc 13     Filed 03/06/13 Entered 03/06/13 17:59:17             Main Document
                                          Pg 20 of 43


Fed. R. Bankr. P. 7004(b)(9). Bankruptcy Rule 7004(e) further requires that service of the

summons and complaint be delivered or deposited in the mail within 14 days after the summons

is issued, and FRCP 4(l) requires that proof of service must be made to the court by the server’s

affidavit. Rule 9078-1 of the Local Bankruptcy Rules provides that, unless the Court orders

otherwise, “any party serving a pleading or other document shall file proof of service by the

earlier of (i) three days following the date of service, and (ii) the hearing date.” Local Bankr. R.

9078-1.

       37.     Upon information and belief, the Debtor Defendants have not been served with

the Complaint and Summons by any means prescribed by Bankruptcy Rule 7004. Accordingly,

the Debtor Defendants request that the Adversary Proceeding be dismissed for insufficient

service of process pursuant to Bankruptcy Rule 7012(b) and FRCP 12(b)(5).


B.     The Court Should Abstain from Exercising Jurisdiction
       Over the Adversary Proceeding

               38.     To the extent the Court determines that principles of res judicata and

collateral estoppel do not apply to the first Count of the Complaint, the Court nonetheless should

abstain from exercising jurisdiction pursuant to 28 U.S.C. § 1334(c)(1). Notwithstanding the

presence of “related to” jurisdiction, a district court may abstain from exercising that jurisdiction

on “any equitable ground,” including “the interest of justice, or in the interest of comity with

State courts or respect for State law. . . .” 28 U.S.C. § 1334(c)(1).

               39.     Although the statute refers to comity with State courts, these factors apply

with equal force where, as here, there are parallel proceedings pending in two federal courts. See,

e.g., Smith v. Bayer Corp., 131 S. Ct. 2368, 2382 (2011) (“[W]e would expect federal courts to

apply principles of comity to each other’s class certification decisions when addressing a

common dispute.”); Cortez Byrd Chips, Inc. v. Bill Harbert Constr. Co., 529 U.S. 193, 198,

                                                 12
ny-1079262
12-02045-mg      Doc 13     Filed 03/06/13 Entered 03/06/13 17:59:17              Main Document
                                          Pg 21 of 43


(2000) (observing that, where parallel proceedings were pending before U.S. District Courts in

Alabama and Mississippi, “under principles of deference to the court of first filing, the Alabama

court should have considered staying its hand”).

               40.     Here, an identical proceeding is already underway before the Texas

Bankruptcy Court, and has been in large part disposed of on the merits. It would be an

inefficient use of judicial resources for this Court to exercise its concurrent jurisdiction to rule on

the merits of Plaintiffs’ claims. Moreover, there is no risk of prejudice to Plaintiffs arising as a

result of this Court’s abstention, as the Texas AP involves identical allegations against the same

parties, and is being heard in a venue that is more convenient for the Plaintiffs. To the contrary,

the continuation of parallel proceeding poses the threat of inconsistent rulings on the same issue

by two courts of equal standing. Such an outcome would limit the finality of both decisions,

thereby giving rise to further judicial inefficiencies and causing inherent prejudice to all parties

involved. As such, the Debtor Defendants respectfully request that the Court decline to exercise

jurisdiction in favor of the Texas Bankruptcy Court and dismiss the Adversary Proceeding.




                                                  13
ny-1079262
12-02045-mg      Doc 13     Filed 03/06/13 Entered 03/06/13 17:59:17          Main Document
                                          Pg 22 of 43


                                      V.      CONCLUSION

               Accordingly, for the reasons set forth herein, the Debtor Defendants respectfully

request that the Court dismiss the Adversary Proceeding with prejudice and grant such other and

further relief as it deems just and proper.

Dated: March 6, 2013
       New York, New York


                                                     /s/ Norman S. Rosenbaum
                                                     Norman S. Rosenbaum
                                                     Stefan W. Engelhardt
                                                     Paul Galante
                                                     Erica J. Richards
                                                     MORRISON & FOERSTER LLP
                                                     1290 Avenue of the Americas
                                                     New York, New York 10104
                                                     Telephone: (212) 468-8000
                                                     Facsimile: (212) 468-7900

                                                     Counsel for the Debtors and
                                                     Debtors in Possession




                                                14
ny-1079262
12-02045-mg   Doc 13   Filed 03/06/13 Entered 03/06/13 17:59:17   Main Document
                                     Pg 23 of 43


                                   EXHIBIT 1




ny-1079262
12-02045-mg        Doc 13       Filed 03/06/13 Entered 03/06/13 17:59:17            Main Document
                                              Pg 24 of 43


MORRISON & FOERSTER LLP
1290 Avenue of the Americas
New York, New York 10104
Telephone: (212) 468-8000
Facsimile: (212) 468-7900
Norman S. Rosenbaum
Stefan W. Engelhardt
Paul Galante
Erica J. Richards

Counsel for the Debtors and
Debtors in Possession

                          UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

---------------------------------------------------------x
                                                        :
Brian Finell Kimber and Malinda Kimber,                 :
                                                        :    Adv. Proc. 12-02045 (MG)
                           Plaintiffs,                  :
                                                        :
                                v.                      :
                                                        :
GMAC Mortgage LLC; Amerigroup                           :
Mortgage Corporation; Transcontinental                  :
Title Co.; Mortgage Electronic Registration :
Systems, Inc.; Susan Turner; Ahn P. Nguyen; :
Executive Trustee Service LLC; Pite Duncan, :
LLP; Gabrial Ozel; Raye Mayhorn; Realty                 :
Executives of Killen, Inc.; Sol Jessy Lockhart; :
and Alarcon Law Group P.C.                              :
                                                        :
                           Defendants.                  :
---------------------------------------------------------x
In re                                                   :
                                                        :    Case No. 12-12020 (MG)
RESIDENTIAL CAPITAL, LLC, et al.,                       :
                                                        :    Chapter 11
                                                        :
                           Debtors                      :    Jointly Administered
---------------------------------------------------------x

  DECLARATION OF ERICA J. RICHARDS IN SUPPORT OF DEBTORS’ MOTION
 FOR DISMISSAL OF ADVERSARY PROCEEDING PURSUANT TO BANKRUPTCY
     RULE 7012(b) AND FRCP 12(b)(5), AND (6) OR, IN THE ALTERNATIVE,
        PERMISSIVE ABSTENTION PURSUANT TO 28 U.S.C. §1334(c)(1)



ny-1079262
12-02045-mg          Doc 13       Filed 03/06/13 Entered 03/06/13 17:59:17                    Main Document
                                                Pg 25 of 43


          I, Erica J. Richards, declare as follows:

                   1.       I am an attorney at the law firm of Morrison & Foerster LLP, which serves

as bankruptcy counsel to Residential Capital, LLC, and the other debtors and debtors in

possession in the above-captioned Chapter 11 cases (collectively, the “Debtors”).

                   2.       I am authorized to submit this declaration (the “Declaration”) in support of

the Debtors’ Motion For Dismissal Of Adversary Proceeding Pursuant To Bankruptcy Rule

7012(b) And FRCP 12(b)(5) and (6) Or, In The Alternative, Permissive Abstention Pursuant To

28 U.S.C. §1334(c)(1), dated November 12, 2012 (the “Motion”).2

                   3.       The information contained in this affidavit is based upon m pleadings filed

in the Texas AP and the Adversary Proceeding. If I were called to testify as a witness in this

matter, I would testify competently to the facts set forth herein.

                   4.       Attached as Exhibit A hereto is a true and correct copy of the Adversary

Complaint To (A) Avoid Lien, (B) Violation Of The Automatic Stay, (c) Conspirary [sic] To

Violate The Automatic Stay, (D) For Declaratory Judgment And (C) For Turnover, which was

filed in the Texas AP on November 20, 2012.

                   5.       Attached as Exhibit B hereto is a true and correct copy of the Order

Granting In Part And Denying In Part Motion To Dismiss, which was entered in the Texas AP

on February 21, 2013.




2
    Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to them in the Motion.




ny-1079262                                                2
12-02045-mg      Doc 13     Filed 03/06/13 Entered 03/06/13 17:59:17           Main Document
                                          Pg 26 of 43


                Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated: March 6, 2013

                                                      /s/ Erica J. Richards
                                                     Erica J. Richards

                                                     Counsel for the Debtors and
                                                     Debtors-in-Possession




ny-1079262                                       3
12-02045-mg   Doc 13   Filed 03/06/13 Entered 03/06/13 17:59:17   Main Document
                                     Pg 27 of 43


                                   EXHIBIT A
  12-02045-mgDoc#1
12-06040-cag   Doc 13
                   FiledFiled 03/06/13
                        11/20/12         Entered
                                   Entered       03/06/13
                                           11/20/12       17:59:17
                                                    16:01:46        Main Document
                                                              Main Document  Pg 1 of 13
                                      Pg 28 of 43
  12-02045-mgDoc#1
12-06040-cag   Doc 13
                   FiledFiled 03/06/13
                        11/20/12         Entered
                                   Entered       03/06/13
                                           11/20/12       17:59:17
                                                    16:01:46        Main Document
                                                              Main Document  Pg 2 of 13
                                      Pg 29 of 43
  12-02045-mgDoc#1
12-06040-cag   Doc 13
                   FiledFiled 03/06/13
                        11/20/12         Entered
                                   Entered       03/06/13
                                           11/20/12       17:59:17
                                                    16:01:46        Main Document
                                                              Main Document  Pg 3 of 13
                                      Pg 30 of 43
  12-02045-mgDoc#1
12-06040-cag   Doc 13
                   FiledFiled 03/06/13
                        11/20/12         Entered
                                   Entered       03/06/13
                                           11/20/12       17:59:17
                                                    16:01:46        Main Document
                                                              Main Document  Pg 4 of 13
                                      Pg 31 of 43
  12-02045-mgDoc#1
12-06040-cag   Doc 13
                   FiledFiled 03/06/13
                        11/20/12         Entered
                                   Entered       03/06/13
                                           11/20/12       17:59:17
                                                    16:01:46        Main Document
                                                              Main Document  Pg 5 of 13
                                      Pg 32 of 43
  12-02045-mgDoc#1
12-06040-cag   Doc 13
                   FiledFiled 03/06/13
                        11/20/12         Entered
                                   Entered       03/06/13
                                           11/20/12       17:59:17
                                                    16:01:46        Main Document
                                                              Main Document  Pg 6 of 13
                                      Pg 33 of 43
  12-02045-mgDoc#1
12-06040-cag   Doc 13
                   FiledFiled 03/06/13
                        11/20/12         Entered
                                   Entered       03/06/13
                                           11/20/12       17:59:17
                                                    16:01:46        Main Document
                                                              Main Document  Pg 7 of 13
                                      Pg 34 of 43
  12-02045-mgDoc#1
12-06040-cag   Doc 13
                   FiledFiled 03/06/13
                        11/20/12         Entered
                                   Entered       03/06/13
                                           11/20/12       17:59:17
                                                    16:01:46        Main Document
                                                              Main Document  Pg 8 of 13
                                      Pg 35 of 43
  12-02045-mgDoc#1
12-06040-cag   Doc 13
                   FiledFiled 03/06/13
                        11/20/12         Entered
                                   Entered       03/06/13
                                           11/20/12       17:59:17
                                                    16:01:46        Main Document
                                                              Main Document  Pg 9 of 13
                                      Pg 36 of 43
 12-02045-mg Doc#1
12-06040-cag  Doc 13
                   FiledFiled 03/06/13
                         11/20/12        Entered
                                    Entered      03/06/13
                                            11/20/12      17:59:17
                                                     16:01:46       Main Document
                                                              Main Document  Pg 10 of
                                      Pg 37
                                          13of 43
 12-02045-mg Doc#1
12-06040-cag  Doc 13
                   FiledFiled 03/06/13
                         11/20/12        Entered
                                    Entered      03/06/13
                                            11/20/12      17:59:17
                                                     16:01:46       Main Document
                                                              Main Document  Pg 11 of
                                      Pg 38
                                          13of 43
 12-02045-mg Doc#1
12-06040-cag  Doc 13
                   FiledFiled 03/06/13
                         11/20/12        Entered
                                    Entered      03/06/13
                                            11/20/12      17:59:17
                                                     16:01:46       Main Document
                                                              Main Document  Pg 12 of
                                      Pg 39
                                          13of 43
 12-02045-mg Doc#1
12-06040-cag  Doc 13
                   FiledFiled 03/06/13
                         11/20/12        Entered
                                    Entered      03/06/13
                                            11/20/12      17:59:17
                                                     16:01:46       Main Document
                                                              Main Document  Pg 13 of
                                      Pg 40
                                          13of 43
12-02045-mg   Doc 13   Filed 03/06/13 Entered 03/06/13 17:59:17   Main Document
                                     Pg 41 of 43


                                   EXHIBIT B
 12-02045-mg Doc#41
12-06040-cag   Doc 13Filed
                         Filed 03/06/13
                            02/21/13      Entered
                                      Entered     03/06/13
                                              02/21/13     17:59:17
                                                       09:10:14 Main Main Document
                                                                     Document Pg 1 of 2
                                       Pg 42 of 43




  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.

  Dated: February 21, 2013.

                                                     __________________________________
                                                             CRAIG A. GARGOTTA
                                                     UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________
                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

  BRIAN KIMBER                                   )
  AND MALINDA KIMBER,                            )
                                                 )      ADVERSARY PROCEEDING
               PLAINTIFFS,                       )      NO. 12-6040
                                                 )
  VS.                                            )      CASE NO. 12-61074
                                                 )
  GMAC MORTGAGE, INC., d/b/a GMAC                )
  MORTGAGE, LLC, ET AL.,                         )
                                                 )
               DEFENDANTS.                       )

     ORDER GRANTING IN PART AND DENYING IN PART MOTION TO DISMISS

        This matter came before the Court on the Motion To Dismiss Pursuant To Federal Rule

  Of Civil Procedure 12(b)(6) [Docket No. 16] (the “Motion to Dismiss”) filed by defendants

  GMAC Mortgage, LLC, f/k/a GMAC Mortgage, Inc. (“GMACM”), Executive Trustee Services,

  LLC (“ETS”), Mortgage Electronic Registration Systems, Inc. (“MERS”), and Susan Turner

  (“Turner” and with GMACM, ETS, and MERS collectively, the “GMACM Defendants”).

        The Court, having considered the arguments of the GMACM Defendants in the Motion to

  Dismiss and the arguments of the GMACM Defendants and plaintiffs Brian and Melinda Kimber
 12-02045-mg Doc#41
12-06040-cag   Doc 13Filed
                         Filed 03/06/13
                            02/21/13      Entered
                                      Entered     03/06/13
                                              02/21/13     17:59:17
                                                       09:10:14 Main Main Document
                                                                     Document Pg 2 of 2
                                       Pg 43 of 43


  (collectively, the “Plaintiffs”) at the hearing before the Court on February 19, 2012, and for good

  cause shown, hereby ORDERS that:

         1.       The Motion to Dismiss is GRANTED with prejudice as to Counts II, III, and IV

  against all GMACM Defendants.

         2.      The Motion to Dismiss is GRANTED with prejudice as to Count I against

  Defendants Turner and MERS.

         3.      The Motion to Dismiss is DENIED without prejudice as to Count I against

  Defendants GMACM and ETS.

         4.      Plaintiffs are ORDERED to file an amended complaint as to Count I against

  GMACM and ETS on or before March 6, 2013. The amended complaint must make specific

  factual allegations about the notice they gave GMACM and ETS of the Chapter 13 bankruptcy

  case they filed in the United States Bankruptcy Court for the Western District of Texas, Austin

  Division on August 7, 2012 (Case No. 12-11803). If Plaintiffs do not file an amended complaint

  on or before March 6, 2013, or if Plaintiffs do file an amended complaint on or before March 6,

  2013 but the amended Complaint does not make the specific factual allegations stated above, this

  Court may dismiss Count I against Defendants GMACM and ETS.

                                      ###END OF ORDER###

  Prepared and Submitted By:

  /s/ Glenn E. Glover________________
  Glenn E. Glover
  Bradley Arant Boult Cummings LLP
  One Federal Place
  1819 Fifth Avenue North
  Birmingham, AL 35203-2119
  Telephone: (205) 521-8000
  Facsimile: (205) 521-8800
  gglover@babc.com



                                                  2
